         IN THE DISTRICT COURT OF THE UNITED STATES
        FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                      ASHEVILLE DIVISION

                        CRIMINAL NO. 1:07CR33


UNITED STATES OF AMERICA                 )
                                         )
                                         )
           VS.                           )          ORDER
                                         )
                                         )
JOHN WILSON PATTON                       )
                                         )


     THIS MATTER came on for hearing before the Court for sentencing

on January 28, 2008, pursuant to Defendant’s conviction by jury of the

charges herein.

     At the beginning of the hearing, the Defendant’s counsel stated that

he had observed the Defendant’s demeanor during the period of his

representation (since April 2007) and, at times, was troubled by

Defendant’s irrational behavior and the decline in his general mental

health. These concerns were confirmed when counsel reviewed the

presentence report which reported that the Defendant was diagnosed in

2000 as suffering from paranoid schizophrenia and post traumatic stress

disorder. The Defendant’s presentence report disclosed that the




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Defendant had been admitted to the Veterans Administration (VA) Hospital

in April 2000 for schizophrenia and had attempted suicide on two

occasions, one by a drug overdose and the other by hanging. See

Presentence Report, dated November 13, 2007, ¶ 87.

      According to discharge papers from April 2000 at the VA, the
      defendant was assessed on 3/29/00 and appeared to have a
      variety of significant difficulties including organic brain
      syndrome involving some frontal functions, some left
      hemisphere functions, and severe memory recall failure. It was
      felt he was probably in the early phases of dementia. He was
      found to suffer from a significant level of post-traumatic stress
      disorder related to his combat history. He produced clear
      indications of thought disorder. On 4/13/00, it was reported
      that the defendant complained of having depression, post-
      traumatic stress disorder symptoms, and suicidal ideas. He
      reported having heard voices for many years and having felt
      paranoid and vigilant.

Id. Counsel expressed to the Court his concerns regarding the

Defendant’s ability to make rational decisions regarding whether or not to

take a plea in this case or go to trial. At that point, the Court continued the

sentencing hearing and directed the Defendant undergo a psychological

and psychiatric evaluations.

      IT IS, THEREFORE, ORDERED that the Defendant shall be

examined by at least one qualified psychiatrist pursuant to 18 U.S.C. §

4241(b) and Fed. R. Crim. P. 12.2 to determine if the Defendant was, at



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the time he entered his not guilty plea and decided to proceed to trial, then

insane or otherwise so mentally incompetent as to be unable to understand

the criminal proceedings against him, to understand the consequences of

entering a plea of not guilty and proceeding to trial, or to properly assist in

his defense during the course of the trial.

      IT IS FURTHER ORDERED that the Defendant shall be examined to

determine whether at the time of the commission of the alleged offense he

was criminally responsible pursuant to 18 U.S.C. § 4242.

      IT IS FURTHER ORDERED that, for purposes of examination and

pursuant to § 4241(b), the Defendant is committed to the custody and care

of the Attorney General for placement in a suitable facility, and the

examination shall be for such a reasonable time, not to exceed 45 days, as

is necessary to make evaluations as to whether the Defendant (1) was, at

the time he entered his not guilty plea and decided to proceed to trial, then

insane or otherwise so mentally incompetent as to be unable to understand

the criminal proceedings against him, to understand the consequences of

entering a plea of not guilty and proceeding to trial, or to properly assist in

his defense during the course of the trial; and (2) was, at the time of the

commission of the alleged offense, criminally responsible. 18 U.S.C. §§



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4241(b), 4247(b) and (c). For purposes of determining the 45-day period,

the examination is deemed to commence on the day the Defendant is

admitted to the mental health facility.

      IT IS FURTHER ORDERED that the Warden or Case Manager of the

designated facility is instructed that requests for extension of the 45-day

examination period must be in a writing mailed to the Clerk of this Court,

with copies sent to Defendant’s counsel, the United States Attorney, and

the United States Marshal.

      IT IS FURTHER ORDERED that the psychiatrist, as designated by

the Attorney General to examine the Defendant, shall prepare a psychiatric

report pursuant to the requirements of 18 U.S.C. § 4247(c) and shall

forward the original report to this Court, and copies to the United States

Attorney and defense counsel.

      IT IS FURTHER ORDERED that the United States Marshal shall

transport the Defendant to the mental health institution, which shall be

designated by the Attorney General, and return the Defendant immediately

upon completion of the examination to the Western District of North

Carolina where Defendant shall remain in the custody of the United States

Marshal.



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      IT IS FURTHER ORDERED that the United States Marshal shall

provide the Defendant with medications, if any, as prescribed by a licensed

physician pending and during transportation to the mental health institution

designated by the Attorney General.

      The Clerk is directed to transmit this Order electronically to

Defendant’s counsel, the United States Attorney, the United States

Marshal, the United States Probation Office, and the designated mental

health facility in care of the United States Marshal.

                                       Signed: January 31, 2008




                                    SEALED DOCUMENT with access to All Parties/Defendants




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